a
AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

information associated with all Google accounts that,
during the time period described below, were accessed
from a mobile device located in the geographic regions,
more fully described in Attachment A

 

Case No. 2o- SSX MNT)

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that J have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
evidence of a crime;
LJ contraband, fruits of crime, or other items illegally possessed;
L] property designed for use, intended for use, or used in committing a crime;
L] a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: Title 18 U.S.C. § 844(i) (maliciously damaging or destroying by means of fire or explosive
any building used in interstate commerce)

The application is based on these facts: See attached affidavit.

L] Delayed noticeof _—_— days (give exact ending date if more than30 days: = —————SSs=*ds is requested

under 18 U.S.C. § 3103a, the basis of which is set forth on the attached Ke r

Applicaht' 'S signature

ATF Special Agent Rick Hankins
Printed Name and Title

Sworn ac signed in my presence: Sher, Co
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City and State: MilwaukegcW iseonsiini.00882-NJ Filed 03/09

Printed Name and Title
 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Rick Hankins, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a warrant to search information
that is stored at premises controlled by Google, a provider of electronic communications service
and remote computing service headquartered in Mountain View, California. The information to
be searched is described in the following paragraphs and in Attachment A. This affidavit is made
in support of an application for a warrant under Title 18 U.S.C. § 2703(c)(1)(A) to require Google
to disclose to the government the information further described in Attachment B.I. The
government will then review that information and seize the information that is further described
in Attachment B.II.

2. I am a Special Agent of the U.S. Department of Justice’s Bureau of Alcohol,
Tobacco, Firearms, and Explosives (ATF), currently assigned to the Milwaukee Field Office. I
have been so employed since April 2003. My duties as a Special Agent with the ATF include
investigating alleged violations of the federal firearms, explosives, and arson statutes.

3. I have completed approximately 26 weeks of training at the Federal Law
Enforcement Training Center in Glynco, Georgia, as well as the ATF National Academy. That
training included various legal courses related to constitutional law as well as search and seizure
authority. Additionally, I have received training on how to conduct various tasks associated with
criminal investigations, such as interviewing, surveillance, and evidence collection.

4. In addition to my duties as a criminal investigator, I am also an ATF Certified Fire

Investigator (CFI). As an ATF CFI, I am tasked with providing expert opinions as to the origin

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and cause of fires. I obtained the ATF CFI certification in 2009 following a two-year training
program that centered on various fire science topics including, but not limited to: chemistry, fire
dynamics, and building construction. The two-year ATF CFI certification program consisted of
college courses, written exams, research papers, reading assignments, practical training exercises,
and test burns of various materials. I] am re-certified annually as an ATF CFI. To date, I have
participated in over 270 fire scene examinations and have testified as an expert. Additionally, I
have been certified as a fire investigator by the International Association of Arson Investigators
since June 2011. I have received over 1,300 class hours of fire-related training. Furthermore, I
have been an instructor regarding fire-related topics on multiple occasions for the following
agencies and institutions: The National Fire Academy (FEMA), International Association of Arson
Investigators Chapter 25, Waukesha County Technical College, and Blackhawk Technical
College. I have also participated in over 200 live fire training exercises, where | started training
fires and observed fire growth and development. Finally, I was a full-time instructor at the ATF
National Academy from approximately August 2015 to August 2016, where I taught several topics
during Special Agent Basic Training for new ATF recruits. Specifically, I was a primary instructor
for the arson block of training at the ATF Academy.

5. This affidavit is based upon my personal knowledge as well as information
provided to me by other federal, state, and local law enforcement officers during the course of their
official duties, all of whom I believe to be truthful and reliable. This affidavit is also based upon
information gathered from interviews of citizen witnesses, reports, official records, law

enforcement reports, and my training and experience.

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6. I am an investigative or law enforcement officer of the United States within the
meaning of Section 2510(7) of Title 18, United States Code, in that I am empowered by law to
conduct investigations of and to make arrests for federal offenses.

7. As a part of my duties with the ATF, I investigate criminal violations relating to
arson and arson-related offenses, including violations of Title 18, United States Code, Section 844.
During the course of my investigations, I have regularly used data forensically extracted from
cellular devices to obtain evidence relating to the commission of criminal offenses, including
intent, motive, manner, means, and the identity of co-conspirators.

8. Based on my training and experience and the facts as set forth in this affidavit, there
is probable cause to believe that violations of Title 18 U.S.C. § 844(1) (maliciously damaging or
destroying by means of fire or explosive any building used in interstate commerce) has been
committed by an Unknown Suspect. There is also probable cause to search the information
described in Attachment A for evidence of these crimes further described in Attachment B.

JURISDICTION

9. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by Title 18 U.S.C. § 2711. Specifically, the Court is “a district
court of the United States . . . that has jurisdiction over the offense being investigated.” Title 18
ULS.C. § 2711(3)(A)G).

BACKGROUND RELATING TO GOOGLE AND RELEVANT TECHNOLOGY

10. Based on my training and experience, I know that cellular devices, such as mobile
telephones, are widely-used wireless devices that enable their users to send and receive wire and/or
electronic communications using the networks provided by cellular service providers. In order

to send or receive communications, cellular devices connect to radio antennas that are part of the

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cellular network called “cell sites,” which can be mounted on towers, buildings, or other
infrastructure. Cell sites provide service to specific geographic areas, although the service area of
a given cell site will depend on factors including the distance between towers. As a result,
information about what cell site a cellular device connected to at a specific time can provide the
basis for an inference about the general geographic location of the device at that point.

11. Based on my training and experience, I also know that many cellular devices such
as mobile telephones have the capability to connect to wireless Internet (“Wi-Fi”) access points if
a user enables Wi-Fi connectivity. Wi-Fi access points, such as those created through the use of a
router and offered in places such as homes, hotels, airports, and coffee shops, are identified by a
service set identifier (“SSID”) that functions as the name of the Wi-Fi network. In general, devices
with Wi-Fi capability routinely scan their environment to determine what Wi-Fi access points are
within range and will display the names of networks within range under the device’s Wi-Fi
settings.

12. Based on my training and experience, I also know that many cellular devices feature
Bluetooth functionality. Bluetooth allows for short-range wireless connections between devices,
such as between a mobile device and Bluetooth-enabled headphones. Bluetooth uses radio waves
to allow the devices to exchange information. When Bluetooth is enabled, a mobile device
routinely scans its environment to identify Bluetooth devices, which emit beacons that can be
detected by mobile devices within the Bluetooth device’s transmission range, to which it might
connect.

13. Based on my training and experience, I also know that many cellular devices, such

as mobile telephones, include global positioning system (“GPS”) technology. Using this

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technology, the phone can determine its precise geographical coordinates. If permitted by the user,

this information is often used by apps installed on a device as part of the app’s operation.

14. Based on my training and experience, I know Google is a company that, among
other things, offers an operating system (“OS”) for mobile devices, including cellular phones,
known as Android. Nearly every cellular phone using the Android operating system has an
associated Google account, and users are prompted to add a Google account when they first turn
on a new Android device.

15. In addition, based on my training and experience, I know that Google is offers
numerous online-based services, including email (Gmail), navigation (Google Maps), search
engine (Google), online file storage (including Google Drive, Google Photos, and YouTube),
messaging (Google Hangouts and Google Allo), and video calling (Google Duo). Some services,
such as Gmail, online file storage, and messaging, require the user to sign in to the service using
their Google account. An individual can obtain a Google account by registering with Google, and
the account identifier typically is in the form of a Gmail address. Other services, such as Google
Maps and YouTube, can be used while signed in to a Google account, although some aspects of
these services can be used even without being signed in to a Google account.

16. In addition, based on my training and experience, I know Google offers an Internet
browser known as Chrome that can be used on both computers and mobile devices. A user has
the ability to sign in to a Google account while using Chrome, which allows the user’s bookmarks,
browsing history, and other settings to be synced across the various devices on which they may
use the Chrome browsing software, although Chrome can also be used without signing into a
Google account. Chrome is not limited to mobile devices running the Android operating system

and can also be installed and used on Apple devices.

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17. Based on my training and experience, I know that, in the context of mobile devices,
Google’s cloud-based services can be accessed either via the device’s Internet browser or via apps
offered by Google that have been downloaded onto the device. Google apps exist for, and can be
downloaded to, phones that do not run the Android operating system, such as Apple devices.

18. Based on my training and experience, I know that Google collects and retains
location data from devices running the Android operating system when the user has enabled
Google location services. Google then uses this information for various purposes, including to
tailor search results based on the user’s location, to determine the user’s location when Google
Maps is used, and to provide location-based advertising. In addition, I know that Google collects
and retains data from non-Android devices that run Google apps if the user has enabled location
sharing with Google. Google typically associates the collected location information with the
Google account associated with the Android device and/or that is signed in via the relevant Google
app. The location information collected by Google is derived from sources including GPS data,
information about the cell sites within range of the mobile device, and information about Wi-Fi
access points and Bluetooth beacons within range of the mobile device.

19. Based on my training and experience, I also know that Google collects and retains
information about the user’s location if the user has enabled Google to track web and app activity.
According to Google, when this setting is enabled, Google saves information including the user’s
location and Internet Protocol address at the time they engage in certain Internet- and app- based
activity and associates this information with the Google account associated with the Android
device and/or that is signed in with the relevant Google app.

20. Location data, such as the location data in the possession of Google, can assist in a

criminal investigation in various ways. As relevant here, I know based on my training and

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experience that Google has the ability to determine, based on location data collected via the use of

Google products as described above, mobile devices that were in a particular geographic area
during a particular time frame and to determine which Google accounts those devices are
associated with. Among other things, this information can inculpate or exculpate a Google account
holder by showing that s/he was, or was not, near a given location at a time relevant to the criminal
investigation.

21. Based on my training and experience, I know that when individuals register with
Google for an account, Google asks subscribers to provide certain personal identifying
information. Such information can include the subscriber’s full name, physical address, telephone
numbers and other identifiers, alternative email addresses, and, for paying subscribers, means and
source of payment (including any credit or bank account number). In my training and experience,
such information may constitute evidence of the crimes under investigation because the
information can be used to identify the account’s user or users. Based on my training and my
experience, I know that even if subscribers insert false information to conceal their identity, I know
that this information often provide clues to their identity, location or illicit activities.

22, Based on my training and experience, I also know that Google typically retains and
can provide certain transactional information about the creation and use of each account on its
system. This information can include the date on which the account was created, the length of
service, records of login (1.e., session) times and durations, the types of service utilized, the status
of the account (including whether the account is inactive or closed), the methods used to connect
to the account (such as logging into the account via the provider’s website), and other log files that
reflect usage of the account. In addition, Google often has records of the Internet Protocol address

(“IP address”) used to register the account and the IP addresses associated with particular logins

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to the account. Because every device that connects to the Internet must use an IP address, IP

address information can help to identify which computers or other devices were used to access the
account.

PROBABLE CAUSE

Fire at 2537-2541 North Martin Luther King Drive, Milwaukee, WI

 

23. | OnDecember 6, 2019, at approximately 4:31 a.m., the Milwaukee Fire Department
(MFD) responded to a fire at 2537-2541 North Martin Luther King (‘MLK’) Drive in the City of
Milwaukee, Wisconsin. The property was a two-story commercial structure that housed two
businesses on the first floor: a Metro PCS cellphone store (assigned address of 2537 North MLK
Drive); and Hair Fantasys (sic) salon (assigned address of 2541 North MLK Drive).

24. Investigators from ATF, the Wisconsin Department of Justice, the Milwaukee
Police Department (MPD), and MFD subsequently conducted a joint fire scene examination on
December 6, 2019, to determine the origin and cause of the fire. Based on witness statements,
early photographs, and fire pattern analysis, investigators determined the fire originated inside the
Hair Fantasys salon. During excavation inside the salon, investigators located a field stone
weighing approximately 18 pounds laying on the floor near remnants of a charred duffle bag or
backpack that emitted a strong odor consistent with the presence of gasoline. Additionally,
investigators located melted red plastic consistent with a gasoline container melted to the remnants
of the backpack or duffle bag.

25. ATF and MPD subsequently recovered surveillance video from the following
locations in relation to the fire that damaged 2537-2541 North Martin on December 6, 2019:

a) Mobil Gas Station located at 3510 North 7" Street, Milwaukee, WI. The
surveillance video was obtained by MPD and inventoried as Item #19043983

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under Investigation # 193400018. The surveillance video time stamp was found
to be approximately 8 minutes slower than real time.

b) Milwaukee Health Services, Inc. located at 2555 North MLK Drive, Milwaukee,
WI. The surveillance video was obtained by ATF and inventoried as Item #12.
The surveillance video time stamp was found to be approximately 11 hours 58
minutes faster than the official time according to www.time.gov.

 

 

c) Clara Mohammad School located at 317 West Wright Street, Milwaukee, WI.
The surveillance video was obtained by ATF and inventoried as Item #6. The
surveillance video time stamp was found to be approximately 1 minute faster than
the official time according to www.time.gov.

d) BP Gas Station located at 406 West Center Street, Milwaukee, WI. The
surveillance video was obtained by ATF and inventoried as Item #19. The
surveillance video time stamp was found to be accurate when compared to

www.time.gov.

e) All Peoples Church located at 2600 North 2™ Street, Milwaukee, WI. The
surveillance video was obtained by ATF and inventoried as Item #17. The
surveillance video time stamp was found to be approximately 50 minutes faster
than the official time according to www.time.gov.

f) Bouchards clothing store located at 2400 North MLK Drive, Milwaukee, WI.
The surveillance video was obtained by ATF and inventoried as Item #18. The
surveillance video time stamp was found to be approximately 1 hour 24 minutes
faster than the official time according to www.time.gov.

g) Northwood Apartments located at 2520 North MLK Drive, Milwaukee, WI. The
surveillance video was obtained by ATF and inventoried as Item #13. The
surveillance video time stamp was found to be approximately 6 minutes faster
than the official time according to www.time.gov.

h) Milwaukee County Office on African American Affairs (OQAAA) located at 2578
North MLK Drive, Milwaukee, WI. The surveillance video was obtained by ATF
and inventoried as Item #15. The surveillance video time stamp was found to be
approximately 10 minutes slower than the official time according to

www.time.gov.

 

i) Milwaukee Police Department Traffic Camera located on the southwest corner of
the intersection of North MLK Drive and Center Street. The surveillance video

 

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was obtained by MPD and inventoried as Item #20000203 under Investigation #
193400018. The surveillance video time stamp was found to be accurate.

26. The following is a summary compilation of relevant images captured by the
multiple surveillance systems:

27. At approximately 3:45 a.m., the Milwaukee Police Department traffic camera
mounted on the corner of North Martin Luther King (MLK) Drive and Center Street captured
images of a grey or silver four door sedan with a sunroof that traveled southbound on MLK and
turned eastbound on Center Street, and then turned southbound on North 2" Street.

28. At approximately 3:46 a.m. (adjusted time), camera #5 at Bouchards captured
images of a vehicle’s headlights that traveled southbound on 2" Street and appeared to stop near
the intersection of Meinecke Avenue. At approximately 3:48 a.m. (adjusted time), camera #5
captured images of two sets of vehicle headlights that traveled westbound on Meinecke Avenue
and then northbound on 2™ Street and stop near the intersection. At approximately 3:49 a.m.
(adjusted time), the same camera captured vehicle headlights on 2"4 Street, which illuminated at
least one person on foot. Within seconds, camera #5 captured two sets of vehicle headlights travel
northbound on 2" Street and out of view. At about that same time, a third vehicle traveled
southbound from 2" Street and turned westbound on Meinecke Avenue and was captured by
camera #2 as it drove by the south side of Bouchards.

29. At approximately 3:49 a.m. (adjusted time), the playground camera at Northwood
Apartments captured images of an SUV that traveled northbound on 2" Street and then turned
westbound on Wright Street. Approximately 10 seconds later, the same camera captured images

of a vehicle that also traveled northbound on 2" Street and westbound on Wright Street.

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30. | Atapproximately 3:51 a.m., an MPD traffic camera mounted on the corner of North

MLK Drive and Center Street captured images of a grey or silver four door sedan with a sunroof
that traveled northbound on MLK Drive and continued north through the intersection.

31. | Atapproximately 3:57 a.m., an MPD traffic camera mounted on the corner of North
MLK Drive and Center Street captured images of a grey or silver four door sedan with a sunroof
that traveled southbound on MLK Drive through the intersection. The vehicle appeared to be
similar to the vehicle that was headed northbound about six minutes earlier.

32. At approximately 3:59 a.m. (adjusted time), Bouchards’ camera #4 captured images
of a car that traveled southbound on MLK Drive and turned eastbound on Meinecke Avenue. The
images of that car were similar to those of the car that had traveled northbound on MLK Drive
from Meinecke Avenue at approximately 3:50 a.m. (adjusted time). At approximately 3:59 a.m.,
the car (with the sunroof) turned eastbound on Meinecke Avenue and was followed by a car that
had been eastbound on Meinecke Avenue (west of MLK Drive).

33. The two vehicles were subsequently observed on camera #5 travel eastbound
through the 2"! Street intersection and both vehicles appeared to have turned northbound in the
alley located between 1° and 2™ Streets.

34. At approximately 4:00 a.m. (adjusted time), the Playground camera at Northwood
Apartments captured images of two sets of vehicle headlights that traveled northbound in the alley
between 1‘ and 24 Streets from south of Wright and crossed over Wright Street into the alley
north of Wright Street. At approximately 4:01 a.m. (adjusted time), the Playground camera
captured images of one vehicle that traveled southbound on 1* Street and turned eastbound on
Wright Street. Investigators examined the surveillance video footage at All Peoples Church

located at 2600 North 2" Street for this time frame and did not observe any vehicle exit the alley

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between 15‘ and 2" Street northbound. However, a vehicle was observed traveling northbound on

1“ Street and continued north through the intersection of 1“! Street and Clark. Your affiant later
examined the alley located between 1‘! and 2™ Streets and found an open lot area immediately
south of 2547 South 1“ Street that showed signs of tire tracks from the alley to 1“ Street. This
open area was the only access point for vehicles to travel between the alley and 1* Street.
Therefore, it is reasonable to conclude the two vehicles captured traveling northbound in the alley
from Wright Street on the Playground camera subsequently traveled east through the open lot, with
one vehicle subsequently turning south on 1*' Street while the other turned north.

35. At approximately 4:05 a.m. (adjusted time), Bouchards’ camera #5 captured
headlights of a vehicle that traveled westbound on Meinecke Avenue and then northbound on 2"
Street.

36. At approximately 4:05 a.m. (adjusted time), the Playground camera at Northwood
Apartments captured images of a car that traveled slowly northbound on 2" Street and crossed
over Wright Street and out of frame.

37. At approximately 4:06 a.m. (adjusted time), the surveillance camera at All Peoples
Church captured images of vehicle headlights that illuminated the south exterior wall of the church
in a manner consistent with a vehicle turning eastbound on Clark Street from northbound 2" Street.
Moments later a vehicle appeared traveling eastbound on Clark Street. The vehicle then turned
southbound on 1* Street.

38. At approximately 4:16 a.m. (adjusted time), the Playground camera at Northwood
Apartments captured images of at least one person walking southbound on the east side of 2"

Street.

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39. The Playground camera then captured two individuals walk westbound at

approximately 4:17 a.m. (adjusted time) on the north sidewalk of Wright Street. One of the
individuals appeared to be carrying a bag with a strap over his/her shoulder.

40. | Atapproximately 4:19 a.m. (adjusted time), camera #2 at Clara Mohammad School
captured two subjects walk westbound on Wright Street and cross MLK Drive.

4]. The first subject (Subject #1) wore a light colored hooded sweatshirt with colored
pants. Subject #1 carried a shoulder strapped bag on his/her right shoulder which he/she readjusted
several times throughout the videos. The second subject (Subject #2) wore a dark hooded
sweatshirt and dark pants. During the footage captured by camera #2 at the Clara Mohammad
School, a light-colored object can be seen under Subject #2’s right arm and held close to their
body.

42. At approximately 4:20 a.m. (adjusted time), the two subjects walked northbound
from Wright Street down the alley running parallel between Vel R. Phillips Avenue and MLK
Drive on camera #1 at Clara Mohammad School. Subject #1 continued to hold the shoulder bag
on his/her right shoulder while Subject #2 carried the light-colored object in his/her left hand.

43. At approximately 4:21 a.m. (adjusted time), camera #2 at Northwood Apartments
captured at least one person walk northbound in the alley behind 2537-2541 North MLK Drive.

44. _—_ At approximately 4:22 a.m. (adjusted time), the Clara Mohammad School camera
captured Subject #2 walk eastbound near 2537-2541 North MLK Drive while Subject #1 continued
to walk northbound down the alley.

45. At approximately 4:23 a.m., camera #D23 at Milwaukee Health Services captured

Subject #1 walking north through the alley west of Milwaukee Health Services.

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46. | Atapproximately 4:24 a.m. (adjusted time), camera #D21 captured Subject #1 walk

north through the alley towards Clark Street. It appeared that Subject #1 was wearing a dark-
colored material over his/her face.

47. At approximately 4:24 a.m. (adjusted time), camera #D27 captured Subject #1 turn
eastbound on Clark Street.

48. Also at approximately 4:24 a.m. (adjusted time), camera #D1 captured Subject #1
walk eastbound on Clark Street and turn southbound MLK Drive.

49. At approximately 4:25 a.m. (adjusted time), camera #D28 captured Subject #1 walk
southbound on MLK Drive and stop approximately 2-3 times while walking southbound in order
to look behind him/her. Camera #D28 also captured Subject #1 stop south of 2537 North MLK
Drive and disappear west off camera.

50. At approximately 4:26 a.m. (adjusted time), the West Side camera at Northwood
Apartments captured images of a person who walked southbound on the sidewalk in front of 2537-
2541 North MLK Drive and then west (up the stairs) and along the south wall of 2537-2541 North
MLK Drive.

51. At approximately 4:27 a.m. (adjusted time), the West Side camera at Northwood
Apartments captured images of two people who walked east along the south wall of 2537-2541
North MLK Drive and then down the stairs and northbound on the sidewalk out of view.

52. Camera #D28 at Milwaukee Health Services the captured both subjects walk north
on the sidewalk and disappear into a doorway until a Milwaukee County Bus passed. Subject #2
subsequently threw an object into 2537-2541 North MLK Drive. Subject #2 then immediately
traveled east across MLK Drive. As Subject #2 crossed the street, Subject #1 put his/her shoulder

bag on the ground and lit it on fire. Once the bag was burning, Subject #1 threw the bag into 2537-

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2541 N. MLK Drive. Both subjects continued east through the vacant lot directly east of 2537-
2541 North MLK Drive.

53. At approximately 4:30 a.m. (adjusted time), camera #D24 at Milwaukee Health
Services captured both subjects travel on foot north through the alley located between MLK Drive
and 24 Street. Both subjects then turned eastbound through the vacant lot to the south of 2563
North 2" Street.

54. At approximately 4:31 a.m. (adjusted time), the surveillance camera at All Peoples
Church captured images of vehicle headlights illuminate the east side of 1° Street and move from
south to north. Moments later, a vehicle traveled northbound on 1“ Street through the Clark Street
intersection and disappeared out of frame.

55. Also at approximately 4:31 a.m. (adjusted time), the Clark Street fishbowl camera
at Milwaukee Health Services captured an SUV consistent with the SUV observed at

approximately 3:50 a.m. travel eastbound on Clark and then northbound on MLK Drive.

56. Based on the totality of the information available, this fire was classified as
incendiary.
CONCLUSION
57. Based on the forgoing, there is probable cause to believe that unknown suspects set

incendiary fires, in violation of 18 U.S.C. § 844G), at 2541 North Martin Luther King Drive,
Milwaukee, Wisconsin, on December 6, 2019.

58. I further submit that there is probable cause to search information in the possession
of Google relating to what devices were in the Target Locations described in Attachment A during
the time period described in Attachment A, as well as information that identifies the Google

accounts with which those devices are associated, for evidence of the crimes at issue in this case.

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Among other things, this information can inculpate or exculpate a Google account holder by

showing that s/he was, or was not, near a given location at a time relevant to the criminal
investigation. The Target Locations and times correspond to the fires described above.

59. In order to facilitate the manageable disclosure of and search of this information,
the proposed warrant contemplates that Google will disclose the information to the government in
stages rather than disclose all of the information for which the government has established
probable cause to search at once. Specifically, as described in Attachment B.I:

a. Google will be required to disclose to the government an anonymized list of devices
that specifies information including the corresponding unique device ID,
timestamp, coordinates, and data source, if available, of the devices that reported
their location within the Target Locations described in Attachment A during the
time period described in Attachment A.

b. The government will then review this list in order to prioritize the devices about
which it wishes to obtain associated information.

c. Google will then be required to disclose to the government the information
identifying the Google account(s) for those devices about which the government
further inquiries.

60. I therefore request that the Court issue the proposed search warrant, pursuant to 18
U.S.C. § 2703(c).

61. I further request that the Court direct Google to disclose to the government any
information described in Section I of Attachment B that is within its possession, custody, or

control. Because the warrant will be served on Google, who will then compile the requested

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records at a time convenient to it, reasonable cause exists to permit the execution of the requested

warrant at any time in the day or night.
REQUEST FOR SEALING

62. I further request that the Court order that all papers in support of this application,
including the affidavit and search warrant, be sealed until further order of the Court. These
documents discuss an ongoing criminal investigation that is neither public nor known to all of the
targets of the investigation. Accordingly, there is good cause to seal these documents because
their premature disclosure may give targets an opportunity to flee/continue flight from prosecution,
destroy or tamper with evidence, change patterns of behavior, notify confederates, or otherwise

seriously jeopardize the investigation.

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ATTACHMENT A

Property To Be Searched

This warrant is directed to Google LLC and applies to:

(1) location history data, sourced from methods including GPS, Wi-Fi, and Bluetooth,
generated from devices and that reported a device location within the geographical
region bounded by the latitudinal and longitudinal coordinates, dates, and times below
(“Initial Search Parameters”); and

(2) identifying information for Google Accounts associated with the responsive location

history data.

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Search Parameters

Location #A: Area Near the Intersection of North 1°‘ Street and West Clark Street

Date: 12/06/2019 / Time Period (including time zone): 0405hrs(CST) — 0432hrs(CST)

Target Location: Geographical area identified within the following latitude/longitude
coordinates and connected by straight lines:

= Point Al: 43.065702°N, - 87.911237°W
* Point A2: 43.065674°N, - 87.911027°W
= Point A3: 43.065210°N, - 87.911023°W
= Point A4: 43.065192°N, - 87.911225°W

 

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Search Parameters

Location #B: Area Near 2537-2541 North MLK Drive

Date: 12/06/2019 / Time Period (including time zone): 041 5hrs(CST) — 0432hrs(CST)

Target Location: Geographical area identified within the following latitude/longitude
coordinates and connected by straight lines:

* Point B1: 43.065718°N, - 87.914883°W
* Point B2: 43.065703°N, - 87.914212°W
" Point B3: 43.064710°N, - 87.914208°W
* Point B4: 43.063998°N, - 87.914906°W

 

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Search Parameters

Location #C: Area Near the Intersection of West Meinecke Avenue and North 2"4
Street

Date: 12/06/2019 / Time Period (including time zone): 0345hrs(CST) — 035 1hrs(CST)

Target Location: Geographical area identified within the following latitude/longitude
coordinates and connected by straight lines:

= Point C1: 43.062588°N, - 87.912756°W
= Point C2: 43.062572°N, - 87.912520°W
= Point C3: 43.062179°N, - 87.912512°W
* Point C4: 43.062185°N, - 87.912756°W

 

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ATTACHMENT B

Particular Items to Be Seized

I. Information to be disclosed by Google

Google shall provide responsive data (as described in Attachment A) to the government
pursuant to the following process:

1, Google shall query location history data based on the Initial Search Parameters
specified in Attachment A.

2. For each location point recorded within the Initial Search Parameters, Google
shall produce to the government anonymized information specifying the corresponding unique
device ID, timestamp, coordinates, display radius, and data source, if available (the
“Anonymized List”).

3, The government shall review the Anonymized List in order to prioritize the
devices about which it wishes to obtain identifying information.

4, Google is required to disclose to the government identifying information, as
defined in 18 U.S.C. § 2703(c)(2), for the Google Account associated with each device ID about

which the government inquires.

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II. Information to Be Seized
All information described above in Section I that constitutes evidence of a violation of 18
U.S.C. § 844() that was committed on or about December 6, 2019, at 2541 North Martin Luther

King Drive, in Milwaukee, Wisconsin.

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC
RECORDS PURSUANT TO FEDERAL RULES OF EVIDENCE

902(11) AND 902(13)

I, , attest, under penalties of perjury by the laws

 

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. Iam employed by Google, and my title is

. Iam qualified to authenticate the records attached hereto

 

because I am familiar with how the records were created, managed, stored, and retrieved. I state
that the records attached hereto are true duplicates of the original records in the custody of

Google. The attached records consist of [GENERALLY

 

DESCRIBE RECORDS (pages/CDs/megabytes)]. I further state that:

a. all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with
knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of Google, and they were made by Google as a regular practice; and

b. such records were generated by Google's electronic process or system that

produces an accurate result, to wit:

1. the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of Google in a manner to ensure that they are true duplicates of the original

records; and

2. the process or system is regularly verified by Google, and at all times

pertinent to the records certified here the process and system functioned properly and normally.

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I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.

 

Date Signature

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